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                 THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


DEBORAH D. PETERSON
PERSONAL REPRESENTATIVE
OF THE ESTATE OF JAMES C.
KNIPPLE (DECEASED), ET AL.,

       Plaintiffs,                          Consolidated Civil
                                            01-2094 (RCL)
v.                                          01-2684 (RCL)
                                            Hon. Royce C. Lamberth
ISLAMIC REPUBLIC OF IRAN,
ET AL.,

       Defendants.



 MOTION FOR ORDER AFFIRMING A COMMON LAW EQUITABLE
   LIEN OVER PLAINTIFFS’ ATTORNEYS’ 1/3 SHARE OF THE
   RECOVERY AND FOR SEQUESTRATION OF THE DISPUTED
                       PORTION

       Movant, David J. Cook, and Cook Collection Attorneys, P.L.C.

(collectively “Cook”), move for an Order pursuant to Fed. R. Civ. P. 64 and

District of Columbia Superior Court Rule 64, sequestering funds recovered on the

judgment and payable from the QSF Trust to Plaintiffs’ Attorneys Thomas Fay,

Steven Perles, Allen Rothenberg and Anthony LaSpada to cover the Disputed

Portion payable to Cook pursuant to an equitable based on Cook’s Retainer

Agreement with Plaintiffs’ Attorneys.

       Cook submits with this Motion a Memorandum of Law in Support of

Motion, a Declaration of Eric D. Miller, a Declaration of David J. Cook and a




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proposed Order. Oral argument is requested.

                                    Respectfully submitted,

DATED: April 4, 2018                CYRON & MILLER, LLP


                                    By: /s/ Wayne F. Cyron
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                                    Attorneys for Cook Collection
                                    Attorneys, PLC and David Cook dba Cook
                                    Collection Attorneys

DATED: April 4, 2018                MILLERHAUSER LAW GROUP, LLP

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DATED: April 4, 2018                MILLERHAUSER LAW GROUP, LLP

                                    By: /s/ Eric D. Miller
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DATED: April 4, 2018         FOLKENFLIK & MCGERITY, LLC

                             By: /s/ Max Folkenflik
                             Max Folkenflik
                             Margaret McGerity
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                        CERTIFICATE OF SERVICE


I HEREBY CERTIFY that the foregoing MOTION FOR ORDER
AFFIRMING A COMMON LAW EQUITABLE LIEN OVER
PLAINTIFFS’ ATTORNEYS’ 1/3 SHARE OF THE RECOVERY AND
FOR SEQUESTRATION OF THE DISPUTED PORTION were filed
electronically via the Court’s ECF system on April 4, 2018 and were served
electronically at the time on all counsel of record, all of whom are registered to
receiving filings via the Court’s ECF system.

                                     By:    /s/ Eric D. Miller
                                              Eric D. Miller




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